            Case 5:23-cv-00580-FB Document 319 Filed 04/25/24 Page 1 of 5




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

JULIA HUBBARD, and KAYLA                               )
GOEDINGHAUS,                                           )
                                                       )
        Plaintiffs,                                    )
                                                       )
V.                                                     )       CIVIL ACTION NO. SA-23-CV-580-FB
                                                       )
TRAMMELL S. CROW, JR., ET AL.,                         )
                                                       )
        Defendants.                                    )

                                        SCHEDULING ORDER

        Pursuant to 28 U.S.C. § 636(c)(1), all full-time United States Magistrate Judges are authorized
and empowered to try any civil case, jury or non-jury, with the consent of all parties to the lawsuit.
Because of the crowded condition of the criminal docket in this District and the difficulty in reaching
civil cases for trial, you may wish to consent to the trial of your case by a United States Magistrate
Judge. If you wish to consent to a trial before a United States Magistrate Judge, your decision should
be communicated to the United States District Clerk’s Office, and you may indicate your consent on
the attached form or request a form through the Clerk’s Office. Your consent to trial by a United States
Magistrate Judge must be voluntary and you are free to withhold your consent without suffering any
adverse consequences. If all parties consent to trial of this case by a United States Magistrate Judge,
this Court will enter an order referring the case to a United States Magistrate Judge for trial and entry
of judgment. If the case has already been assigned and/or referred to a United States Magistrate Judge
for pretrial matters and the parties consent to a trial before the United States Magistrate Judge, the
trial will be before the United States Magistrate Judge already assigned to the case.

        The following dates are entered to control the course of this case:

      1. The parties shall complete ADR (usually mediation) in compliance with Rule CV-88 by ,
August 30, 2024. A motion objecting to ADR must be filed no later than June 28, 2024.

        2. The parties asserting claims for relief shall submit a written offer of settlement to opposing
parties by September 26, 2024, and each opposing party shall respond, in writing, by October 25,
2024.

      3. Subject to Western District of Texas Local Rule CV-15, the parties shall file all motions to
amend or supplement pleadings or to join additional parties by May 13, 2024.

       4. All parties asserting claims for relief shall file their designation of testifying experts, and shall
serve on all parties, but not file, the materials required by FED. R. CIV. P. 26(a)(2)(B), by November
            Case 5:23-cv-00580-FB Document 319 Filed 04/25/24 Page 2 of 5




21, 2024. Parties resisting claims for reliefshall file their designation of testifying experts and shall
serve on all parties, but not file, the materials required by FED. R. CIV. P. 26(a)(2)(B) by December
20, 2024. All designations of rebuttal experts shall be designated within 14 days of receipt of the report
of the opposing expert.

        5. An objection to the reliability of an expert's proposed testimony under Federal Rule of
Evidence 702 shall be made by motion, specifically stating the basis for the objection and identifying
the objectionable testimony, within 45 days of receipt of the written report of the expert’s proposed
testimony, or within 30 days of the expert’s deposition, if a deposition is taken, whichever is later.

        6. The parties shall complete all discovery on or before January 21, 2025. Counsel may by
agreement continue discovery beyond the deadline, but there will be no intervention by the Court except
in extraordinary circumstances, and no trial setting will be vacated because of information obtained in
post-deadline discovery.

        7. All dispositive motions shall be filed no later than February 21, 2025. Dispositive motions
and responses to dispositive motions shall be limited to 20 pages in length. Replies, if any, shall be
limited to 10 pages in length in accordance with Local Rule CV-7(e).

         8. The trial date will be determined at a later date by the Court. The parties shall consult
Local Rule CV-16(f)-(h) regarding matters to be filed in advance of trial. At the time the trial date is
set, the Court will also set the deadline for the filing of matters in advance of trial.

       It is so ORDERED.

       SIGNED this 25th day of April, 2024.


                                         _________________________________________________
                                         FRED BIERY
                                         UNITED STATES DISTRICT JUDGE




                                                   -2-
           Case 5:23-cv-00580-FB Document 319 Filed 04/25/24 Page 3 of 5




                         IN THE UNITED STATES DISTRICT COURT
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JULIA HUBBARD, and KAYLA                            )
GOEDINGHAUS,                                        )
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       Plaintiffs,                                  )
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V.                                                  )       CIVIL ACTION NO. SA-23-CV-580-FB
                                                    )
TRAMMELL S. CROW, JR., ET AL.,                      )
                                                    )
       Defendants.                                  )

                       CONSENT TO PROCEED TO TRIAL BEFORE A
                         UNITED STATES MAGISTRATE JUDGE

       In accordance with the provisions of 28 U.S.C. § 636(c), the parties to the above captioned civil

matter herebywaive their rights to proceed before a judge of the United States District Court and consent

to have a United States Magistrate Judge conduct any and all further proceedings in the case, including

the trial, and order the entry of judgment. Any appeal shall be taken to the United States Court of

Appeals for this judicial circuit, in accordance with 28 U.S.C. § 636(c)(3).

____________________________                   By:____________________________
Party                                                Attorney

____________________________                   By:_____________________________
Party                                                Attorney

____________________________                   By:_____________________________
Party                                                Attorney

____________________________                   By:_____________________________
Party                                                Attorney


       APPROVED this the ______ day of _________________, 202               .


                                                        _______________________________________
                                                        FRED BIERY
                                                        UNITED STATES DISTRICT JUDGE
           Case 5:23-cv-00580-FB Document 319 Filed 04/25/24 Page 4 of 5




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       Plaintiffs,                                 )
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V.                                                 )       CIVIL ACTION NO. SA-23-CV-580-FB
                                                   )
TRAMMELL S. CROW, JR., ET AL.,                     )
                                                   )
       Defendants.                                 )

                       ADVISORY TO THE CLERK BY PLAINTIFF(S)

       In accordance with the Court's previous order requiring the submission of a notice regarding the

election of proceeding before a United States Magistrate Judge;

       Please be advised that the below named plaintiff(s) elect(s) NOT to conduct the trial in this case

before a United States Magistrate Judge:

____________________________                  By:____________________________
Plaintiff                                           Attorney

____________________________                  By:_____________________________
Plaintiff                                           Attorney

____________________________                  By:_____________________________
Plaintiff                                           Attorney

____________________________                  By:_____________________________
Plaintiff                                           Attorney
           Case 5:23-cv-00580-FB Document 319 Filed 04/25/24 Page 5 of 5




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
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JULIA HUBBARD, and KAYLA                          )
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       Plaintiffs,                                )
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V.                                                )       CIVIL ACTION NO. SA-23-CV-580-FB
                                                  )
TRAMMELL S. CROW, JR., ET AL.,                    )
                                                  )
       Defendants.                                )

                      ADVISORY TO THE CLERK BY DEFENDANT(S)

       In accordance with the Court's previous order requiring the submission of a notice regarding the

election of proceeding before a United States Magistrate Judge;

       Please be advised that the below named defendant(s) elect(s) NOT to conduct the trial in this

case before a United States Magistrate Judge:

____________________________                 By:____________________________
Defendant                                          Attorney

____________________________                 By:_____________________________
Defendant                                          Attorney

____________________________                 By:_____________________________
Defendant                                          Attorney

____________________________                 By:_____________________________
Defendant                                          Attorney
